                                               United States Bankruptcy Court
                                                  District of New Mexico
In re:                                                                                                     Case No. 19-10005-j
Kevin J. Leith                                                                                             Chapter 7
DeAnn S. Griego
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 1084-1                  User: cwilson                      Page 1 of 1                          Date Rcvd: Mar 11, 2019
                                      Form ID: pdfor1                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 13, 2019.
db             +Kevin J. Leith,   PO Box 20001,   Albuquerque, NM 87154-0001

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 13, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 11, 2019 at the address(es) listed below:
              Andrew Paul Yarrington    on behalf of Creditor   Nationstar Mortgage LLC d/b/a Mr. Cooper
               andrew.yarrington@roselbrand.com,
               shaylynn.mckinney@roselbrand.com;Mitchell.Billings@roselbrand.com
              Jason Michael Cline    on behalf of Joint Debtor DeAnn S. Griego jason@attorneyjasoncline.com
              Jason Michael Cline    on behalf of Debtor Kevin J. Leith jason@attorneyjasoncline.com
              United States Trustee    ustpregion20.aq.ecf@usdoj.gov
              Yvette J. Gonzales    yjgllc@yahoo.com, yg@trustesolutions.net
                                                                                             TOTAL: 5




           Case 19-10005-j7            Doc 17        Filed 03/13/19         Entered 03/13/19 22:44:48 Page 1 of 6
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                                                              IT IS ORDERED
                                                              Date Entered on Docket: March 11, 2019




                                                              ________________________________
                                                              The Honorable Robert H Jacobvitz
                                                              United States Bankruptcy Judge

______________________________________________________________________
                                   UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF NEW MEXICO

In re:

KEVIN J. LEITH                                                           Case No. 7-19-10005-JA
DEANN S. GRIEGO

                        Debtors.

     DEFAULT ORDER GRANTING NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER
       RELIEF FROM AUTOMATIC STAY AND ABANDONMENT OF PROPERTY TO
    NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER LOCATED AT 13632 MOUNTAIN
                   W CT. S ALBUQUERQUE, NEW MEXICO 87123

         This matter came before the Court on the Motion for Relief from Automatic Stay for the

Abandonment of Property to Nationstar Mortgage LLC D/B/A Mr. Cooper, filed on 2/01/2019, (DOC

13) (the “Motion”) by Nationstar Mortgage LLC D/B/A Mr. Cooper (“Creditor”). The Court, having

reviewed the record and the Motion, and being otherwise sufficiently informed, FINDS:

         (a)      On February 1, 2019, Creditor served the Motion and a notice of the Motion (the

“Notice”) on Jason Michael Cline, Attorney for Debtors, and Yvette J. Gonzales (the “Trustee”) by use

of the Court’s case management and electronic filing system for the transmission of notices, as

authorized by Fed.R.Civ.P. 5(b)(3) and NM LBR 9036-1, and on the Debtors, Kevin J. Leith and




7952-2380-B 6897694.docx mdb




    Case 19-10005-j7           Doc 17   Filed 03/13/19   Entered 03/13/19 22:44:48 Page 2 of 6
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DeAnn S. Griego, by United States first class mail, in accordance with Bankruptcy Rules 7004 and

9014.


         (b)      The Motion relates to the property located at 13632 Mountain W Ct. S Albuquerque,

New Mexico 87123, more fully described as:

                  LOT NUMBERED THIRTY-FIVE-P1 (35-P), OF THE PLAT OF
                  COVERED WAGON SUBDIVISION, SECTION 26,T. 10 N., R 4 E,
                  N.M.P.M., CITY OF ALBUQUERQUE, BERNALILLO COUNTY,
                  NEW MEXICO, AS THE SAME IS SHOWN AND DESIGNATED ON
                  THE PLAT THEREOF, FILED IN THE OFFICE OF THE COUNTY
                  CLERK OF BERNALILLO COUNTY, NEW MEXICO, ON MAY 02,
                  2006, IN PLAT BOOK 2006C, PAGE 140


including any improvements, fixtures, and attachments, such as, but not limited to, mobile homes (the

“Property”). If there is a conflict between the legal description and the street address, the legal

description shall control.

         (c)      The Notice provided for an objection deadline of 21 days from the date of service of the

Notice, to which three days was added pursuant to Bankruptcy Rule 9006(f);

         (d)      The Notice was sufficient in form and content;

         (e)      The objection deadline expired on February 25, 2019;

         (f)      As of March 3, 2019, neither the Debtor nor the Trustee, nor any other party in interest,

filed an objection to the Motion;

         (g)      The Motion is well taken and should be granted as provided herein; and

         (h)      By submitting this Order to the Court for entry, the undersigned counsel for Creditor

certifies under penalty of perjury that, on the date this Order was presented Rose L. Brand &

Associates, P.C. searched the data banks of the Department of Defense Manpower Data Center

(“DMDC”), and found that the DMDC does not possess any information indicating that the Debtor is

currently on active military duty of the United States.

         IT IS THEREFORE ORDERED:

7952-2380-B 6897694.docx mdb                       2




    Case 19-10005-j7           Doc 17   Filed 03/13/19    Entered 03/13/19 22:44:48 Page 3 of 6
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         1.       Pursuant to 11 U.S.C. §362(d), Creditor and any and all holders of liens against the

Property, of any lien priority, are hereby are granted relief from the automatic stay:

                 (a)           To enforce its rights in the Property, including foreclosure of liens and a

foreclosure sale, under the terms of any prepetition notes, mortgages, security agreements, and/or other

agreements to which Debtors are a parties, to the extent permitted by applicable non-bankruptcy law,

such as by commencing or proceeding with appropriate action against the Debtors or the Property, or

both, in any court of competent jurisdiction; and

                  (b)          To exercise any other right or remedy available to it under law or equity with

respect to the Property.

         2.       The Trustee is deemed to have abandoned the Property from the estate pursuant to 11

U.S.C. §554 as of the date of entry of this Order, and the Property therefore no longer is property of the

estate. As a result, Creditor need not name the Trustee as a defendant in any state court action it may

pursue to foreclosure liens against the Property and need not notify the Trustee of any sale of the

Property.

         3.       The automatic stay is not modified to permit any act to collect any deficiency or other

obligation as a personal liability of the Debtors, in the event that a discharge order is entered. The

Debtors can be named as a defendants in litigation to obtain judgment or to repossess the Property in

accordance with applicable non-bankruptcy law, pursuant to any discharge order entered.

         4.       This Order does not waive Creditor’s claim against the estate for any deficiency owed

by the Debtors after any foreclosure sale or other disposition of the Property. Creditor may filed an

amended proof of claim this bankruptcy case within thirty (30) days after a foreclosure sale of the

Property, should it claim that Debtors owe any amount after the sale of the Property.

         5.       This Order shall continue in full force and effect if this case is dismissed or converted to

a case under another chapter of the Bankruptcy Code.



7952-2380-B 6897694.docx mdb                           3




    Case 19-10005-j7            Doc 17     Filed 03/13/19    Entered 03/13/19 22:44:48 Page 4 of 6
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         6.       This order is effective and enforceable upon entry. The 14-day stay requirement of

Fed.R.Bankr.P. 4001(a)(3) is waived.

         7.       Creditor is further granted relief from the stay to engage in loan modification

discussions or negotiations or other settlement discussions with the Debtors and to enter into a loan

modification with the Debtors.


                                         XXX END OF ORDER XXX




7952-2380-B 6897694.docx mdb                       4




    Case 19-10005-j7           Doc 17   Filed 03/13/19   Entered 03/13/19 22:44:48 Page 5 of 6
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RESPECTFULLY SUBMITTED:

ROSE L. BRAND & ASSOCIATES, P.C.

By: /s/Andrew P. Yarrington
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Attorney for Creditor
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Albuquerque, NM 87109
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Copied to:

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Jason Michael Cline
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320 Gold Ave SW Ste. 1128
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Telephone: (505) 595-0110
jason@attorneyjasoncline.com

Yvette J. Gonzales
Chapter 7 Trustee
PO Box 1037
Placitas, NM 87043-1037
Telephone: (505) 771-0700




7952-2380-B 6897694.docx mdb                       5




    Case 19-10005-j7           Doc 17   Filed 03/13/19   Entered 03/13/19 22:44:48 Page 6 of 6
